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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE



    In re:                                                 Chapter 11

              YUETING JIA, 1                               Case No. 19-12220-KBO

                                     Debtor.               Hearing Date: December 18, 2019 at 10:00 a.m. (ET)
                                                           Obj. Deadline: December 13, 2019 at 4:00 p.m. (ET)

                                                           Re: D.I. 109


     SHANGHAI LAN CAI ASSET MANAGEMENT CO, LTD.’S OBJECTION TO AND
     RESERVATION OF RIGHTS IN CONNECTION WITH THE DEBTOR’S MOTION
     FOR AN ORDER (I) APPROVING DISCLOSURE STATEMENT, (II) APPROVING
      VOTING AND TABULATION PROCEDURES, (III) SETTING CONFIRMATION
                  HEARING AND RELATED DEADLINES AND
                       (IV) GRANTING RELATED RELIEF
             Creditor Shanghai Lan Cai Asset Management Co, Ltd. submits this objection to and

reservation of rights related to Yueting Jia’s (“Jia” or the “Debtor”) Motion for an Order (I)

Approving Disclosure Statement, (II) Approving Voting and Tabulation Procedures, (III) Setting

Confirmation Hearing and Related Deadlines and (IV) Granting Related Relief [Dkt. No. 109]

(the “Disclosure Statement Motion”) and respectfully represents as follows:

             Currently pending before the Court is Shanghai Lan Cai’s Motion (I) to Dismiss the

Debtor’s Chapter 11 Case or, Alternatively (II) to Transfer Venue to the Central District of

California (the “Motion to Dismiss”) [Dkt. No. 89]. As a matter of judicial efficiency and

economy, the Court should first determine whether this case should be dismissed or, alternatively,

transferred to the Central District of California before considering the Disclosure Statement

Motion.




1
 The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is 91
Marguerite Drive, Rancho Palos Verdes, CA 90275.

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          Shanghai Lan Cai respectfully requests that this Court deny the Disclosure Statement

Motion 2 or otherwise hold it in abeyance until after the Motion to Dismiss is resolved. Shanghai

Lan Cai further reserves all rights to supplement this objection, including as the adequacy and

accuracy of the information contained in the proposed disclosure statement.


Dated: December 13, 2019                                          Respectfully submitted,

                                                                  THE ROSNER LAW GROUP LLC

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                                                                  -     and     -

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                                                                  Counsel for Shanghai Lan Cai Asset
                                                                  Management Co, Ltd.


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          As the Official Committee of Unsecured Committee (the “Committee”) has pointed out, it is currently
“impossible” to assess the disclosure statement at this time based on the limited information provided by Jia. See
Official Committee of Unsecured Creditors’ Response to Shanghai Lan Cai Asset Management Co, Ltd.’s Motion (I)
to Dismiss the Debtor’s Chapter 11 Case or, Alternatively, (II) to Transfer Venue to the Central District of California
[Dkt. No. 111] ¶ 11.

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